            Case 8:20-cv-02205-PJM Document 2 Filed 07/29/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


FLORENCE MICHEL                        )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )                   Case No.: 8:20-cv-2205-PJM
                                       )
FMS FINANCIAL SOLUTIONS, LLC;          )
EXPERIAN INFORMATION SOLUTIONS, INC.; )
and EQUIFAX INFORMATION SERVICES, LLC, )
                                       )
      Defendants.                      )

                      DISCLOSURE OF CORPORATE INTEREST OF
                      EXPERIAN INFORMATION SOLUTIONS, INC.

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 103.3, Experian

Information Solutions, Inc. (“Experian”) states:

       1.       The ultimate parent company of Experian is Experian plc.

       2.       The following companies are the US-based subsidiaries of Experian plc that are

not wholly owned:

                (a)    Central Source LLC

                (b)    Online Date Exchange LLC

                (c)    New Management Services LLC

                (d)    VantageScore Solutions LLC

                (e)    Opt-Out Services, LLC

       3.       Experian plc owns, indirectly 100 percent of Experian. Experian plc is a Jersey

registered company which is publicly traded on the London Stock Exchange.
        Case 8:20-cv-02205-PJM Document 2 Filed 07/29/20 Page 2 of 3




Dated: July 29, 2020                     SHULMAN, ROGERS, GANDAL,
                                         PORDY & ECKER, P.A.

                                          /s/ Joy C. Einstein
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                                          Information Solutions, Inc.
          Case 8:20-cv-02205-PJM Document 2 Filed 07/29/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2020, I served via CM/ECF a copy of the foregoing
Disclosure of Corporate Interest to the following:

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And I served via First Class Mail a copy of the foregoing Disclosure of Corporate Interest to the
following:

FMS Financial Solutions, LLC
9001 Edmonston Road, Suite 20
Greenbelt, MD 20770



                                                    /s/ Joy C. Einstein
                                                    Joy C. Einstein
